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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

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                                   7                                                        Case No. 18-cv-01885-HSG
                                         IN RE KONINKLIJKE PHILIPS PATENT
                                         LITIGATION
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                                                                                            ORDER DIRECTING PUBLIC FILING
                                   9                                                        OF SUMMARY JUDGMENT AND
                                         This Document Relates To:                          DAUBERT ORDERS
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                                                        ALL ACTIONS                         Re: Dkt. Nos. 974, 975, 976
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Northern District of California
 United States District Court




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                                  14          On April 13, 2020, the Court filed an Order, under seal, that granted in part and denied in

                                  15   part ASUS’s motion for partial summary judgment and denied Philips’s motion for partial

                                  16   summary judgment. Dkt. No. 975. The Court separately entered an Order, under seal, addressing

                                  17   the parties’ Daubert motions Dkt. No. 974. Each of these Orders contained information the

                                  18   parties sought to seal in their briefing. The Court directed the parties to meet and confer and

                                  19   submit a joint statement identifying portions of the summary judgment Order for which

                                  20   compelling reasons to seal existed, as well portions of the Daubert Order for which good cause to

                                  21   seal existed. Dkt. No. 976.

                                  22          The parties have now filed a joint statement requesting that the Court redact portions of the

                                  23   Daubert order for which good cause to seal has previously been found. Dkt. No. 990. Having

                                  24   previously determined that good cause to seal exists (Dkt. No. 977), the Court shall file a public

                                  25   version of the Daubert Order, dated nunc pro tunc to April 13, 2020, with the parties’ redactions.

                                  26   The parties do not seek to redact any portion of the summary judgment Order. Accordingly, the

                                  27   Court shall file an unredacted public version of that Order, dated nunc pro tunc to April 13, 2020.

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                                   1         IT IS SO ORDERED.

                                   2   Dated: May 11, 2020

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                                                                     HAYWOOD S. GILLIAM, JR.
                                   4                                 United States District Judge
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Northern District of California
 United States District Court




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